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              PROBABLE CAUSE FOR CRIMINAL COMPLAINT


      1.     I, Aaron Eastham, am a Special Agent (SA) of the Federal Bureau of

Investigation (FBI) and have been so employed since 2018. I am currently assigned

to the Detroit Field Office, Grand Rapids Resident Agency. During my employment

with the FBI, I have conducted investigations involving violations of federal

criminal laws, including violations related to child exploitation and pornography. I

am familiar with the various statutes of Title 18, United States Code, Chapter 110 –

sexual exploitation and other abuse of children, including violations pertaining to

distribution or receipt of child pornography (18 U.S.C.§ 2252A(a)(2)) and possession

of child pornography (18 U.S.C. § 2252A(a)(5)(B)), the “subject offenses.”

      2.     The facts in this Continuation of Criminal Complaint are based on my

personal observations, my training and experience, and information obtained from

other agents and witnesses. I submit the following to establish probable cause to

believe that Bradley Arkesteyn (“Arkesteyn” or “Defendant”) has committed

violations of distribution or receipt of child pornography (18 U.S.C.§ 2252A(a)(2))

and possession of child pornography (18 U.S.C. § 2252A(a)(5)(B)), the “subject

offenses.” This Continuation of Criminal Complaint is intended merely to show

probable cause that Arkesteyn committed the described offenses below and does not

set forth all of my knowledge concerning this matter.

      3.     Leading up to Wednesday, March 13, 2024, an FBI Washington Field

Office (WFO) TFO was acting in an undercover (UC) capacity as part of the


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Metropolitan Police Department-Federal Bureau of Investigation (“MPD-FBI”)

Child Exploitation Task Force in Washington, DC. In that capacity, the UC entered

a public KIK1 group that had a display name of, “kiddo only.” Based on the UC’s

experience, groups with these sorts of names are known to the UC as a place where

people meet, discuss and trade original images and videos of underage children.

       4.    Upon joining the group, the UC observed members of the group

discussing and disseminating child sex abuse material (CSAM) to the group. A

member using the screen name, “bradarkesteyn95”, subsequently identified as the

subject, Bradley Arkesteyn, stated, “any pee videos” then posted an image depicting

a prepubescent female naked with her legs spread and urinating. Arkesteyn stated,

“That picture I sent: that girls piss looks delicious.” Later in the chat, Arkesteyn

posted a video to the group. The video is a known CSAM video (Tara series). The

video depicts a prepubescent female outdoors engaged in oral sex with an adult

penis. Later in the chat, Arkesteyn distributed 6 more videos of CSAM. Three of

those videos depict prepubescent females engaged in oral sex with adult penises.

       5.    On Wednesday, March 13, 2024, the UC initiated a private chat with

Arkesteyn. During the course of the chat, the UC asked Arkesteyn if he had a

daughter or little sister. Arkesteyn replied, “I don’t but ima bout to video myself

cumming on a framed photo of my 7 yo niece. Maybe tonight or this weekend.” On



1  Kik is an instant messaging mobile application where one can transmit and
receive messages, photos, and videos. Users can communicate privately with other
users or in groups.

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Monday, March 18, 2024, Arkesteyn informed the UC that he worked as a custodian

for a school district, stating that he was currently working at an elementary school,

which was K-4th grade. The UC asked Arkesteyn if he ever gets to talk with the

kids. Arkesteyn replied, “Oh bro! They absolutely love me! The 2nd graders mostly.

They call me Bobby lmao.” Arkesteyn further stated, “I might get caught staring at

this one girl’s feet tho.” Arkesteyn informed the UC that he smells the children’s

shoes sometimes.

      6.       During the course of the chat, Arkesteyn stated, “Bro. I just need the

government to legalize cp, and society to normalize pedophilia.” During the course

of the chat, Arkesteyn described working around kids. The following are portions of

his statements:


              Arkesteyn: It can be difficult sometimes tbh. Like I’m careful enough

               that I will most likely won’t get caught, but the anxiety is absolutely

               overwhelming.

              Arkesteyn: I almost wish I would get caught but not get in trouble, so

               I’ll know I’ll be safe. Im getting close to receiving hugs. I’ve had a few.

              Arkesteyn: Some of the girls are curious. They’re super friendly with

               me too. I’m almost certain I could share a secret that I like little girls

               feetses and they wouldn’t tell on me.


                                     *      *      *



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              Arkesteyn: And yes I have a niece

              UC: Thanks

              UC: U get to see her naked

              Arkesteyn: Not yet

              UC: Ok

              UC: Is she cute

              Arkesteyn: Adorable

              UC: Nice !

              Arkesteyn: She’s curious too


      7.       During the course of the chat, Arkesteyn informed the UC that he paid

an individual on the social media application, “Telegram” 260$ for 3 links of CSAM.

Arkesteyn sent the UC one of those Mega links. The UC accessed the Mega link,

which contained two folders; “n1” which was over 745GB in size and “n2” which was

over 1TB in size. The UC opened the “n1” folder which contained 6 subfolders

labeled: boy cp, cp, mother and son, pictures and videos, rape, and young. The UC

continued looking through the folders and found CSAM files, which included files

depicting children as young as infants being sexually abused by adult males and

females.

      8.       Based on this information, investigators sent an emergency disclosure

request to Kik for the subscriber information associated with the bradarkesteyn95

Kik account. The response from Kik included the following information:


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            a. First Name: Brad

            b. Last Name: A PM Open

            c. Email (unconfirmed): bradarkesteyn@gmail.com

            d. The more frequently and recently used IP address: 47.225.160.180

      9.      Investigators sent an emergency disclosure request to Charter

Communications, the internet service provider of IP address 47.225.160.180.

Charter Communications responded with the following subscriber information:

            a. Subscriber Name:

            b. Address:                                  Rockford, MI

            c. Subscriber Phone:

      10.     Investigators conducted an open source database search for the name

Brad Arkesteyn yielding a single individual in Michigan (Bradley Alyn Arkesteyn)

with a 1995 date of birth (DOB:          1995). Further queries of commercial, open

source, and law enforcement sensitive databases were conducted on this individual

yielding a Michigan driver's license (                 ) with a registered address of

                           Rockford MI 49341. The photograph associated with the

driver’s license visually matched the person depicted in the Kik profile photograph.

Social media accounts belonging to Arkesteyn (www.facebook.com/brad.arkesteyn

and www.instagram.com/bradarkesteyn) displayed additional publicly available

photographs that visually matched the person in the Kik profile photograph. As of

March 18, 2024, Arkesteyn has no identifiable criminal history and no active

warrants.

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      11.    On March 19, 2024, investigators executed a search warrant at the

residence of Arkesteyn. During the search, Arkesteyn was interviewed by FBI

Special Agents. Arkesteyn admitted to using both Kik and Telegram to receive child

pornography and that he had sent others child pornography on Kik. He told agents

that his preferred ages and gender was 7 to 14-year-old girls. Arkesteyn admitted to

purchasing child pornography on Telegram from several different people and

receiving thousands of child pornography videos through Mega links. Arkesteyn

said that he would keep the links in the Telegram messages and later go back to

them when he wanted to access the child pornography. He also admitted that

sometimes he saved the videos onto his phone, but he did not have any on his phone

at the time of his interview because he had deleted them about a week ago.

Arkesteyn said that he didn’t feel bad or guilty after looking at child pornography.

      12.    Arkesteyn admitted to viewing child pornography for ten years. When

he was 18-years-old, he used to get nude pictures of 13-14-year olds through the

chat site Omegle and he used to have a lot of pictures.

      13.    Arkesteyn said that he worked as a custodian and has recently been

working at two different elementary schools. He is around the kids during lunch

because he is part of the lunch program at the school. Arkesteyn admitted to

smelling the shoes of 1st through 4th grade students. He claimed that this was an

involuntary action that he could not control. He also had urges to touch the feet of

7-14-year-old girls, but said he had not acted on this. He claimed to have a few

favorite 2nd grade girls at the schools that he said were “obsessed” with him.

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Arkesteyn said that a 2nd grader wanted to follow him into the custodial closet one

time, but he didn’t allow her to.

      14.    Arkesteyn admitted to agents that he wanted to experience being with

a child sexually. He stated that he would not seek out a child to touch, but if a child

came on to him, he would not stop her. He later said that if he was invited to

babysit a second grader, he would likely touch her vagina.

      15.    During the interview, FBI Agents conducted a cursory review of

Arkesteyn’s phone. The telegram chats were located with the Mega links Arkesteyn

claimed he purchased that contained child pornography and that he would access

when he wanted to view child pornography.


                                    CONCLUSION


      16.    Based on the foregoing, I believe there is probable cause to believe that

Bradley Arkesteyn has committed the criminal violations of distribution or receipt

of child pornography (18 U.S.C.§ 2252A(a)(2)) and possession of child pornography

(18 U.S.C. § 2252A(a)(5)(B)).




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